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                            IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                     PHILADELPHIA DIVISION

      In re: BARBARA ANN BADY                          )
              Debtor(s)                                )
                                                       )   CHAPTER 13
      SANTANDER CONSUMER USA INC.                      )
           Moving Party                                )   Case No.: 16-18690 (AMC)
        v.                                             )
                                                       )   Hearing Date: 2-27-18 at 11:00 AM
      BARBARA ANN BADY                                 )
       KARL BADY                                       )
          Respondent(s)                                )   11 U.S.C. 362
                                                       )
      WILLIAM C. MILLER                                )   11 U.S.C. 1301
           Trustee                                     )
                                                       )
                                                       )
        MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND CO-DEBTOR STAY

      TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

             Comes now Santander Consumer USA, Inc. (“Santander”) filing this its Motion For Relief
      From The Automatic Stay And Co-Debtor Stay (“Motion”), and in support thereof, would
      respectfully show:

             1. That on December 20, 2016, Barbara Ann Bady filed a voluntary petition under
      Chapter 13 of the Bankruptcy Code.

             2. This Court has jurisdiction of the Motion by virtue of 11 U.S.C. 105, 361, 362, 1301
      and 28 U.S.C. 157 and 1334.
             3. On April 4, 2015, the debtor and the co-debtor Karl Bady entered into a retail
      installment contract for the purchase of a 2009 Chevrolet Malibu bearing vehicle identification
      number 1G1ZH57B09F215420. The contract was assigned to Santander Consumer USA Inc.
      and the debtor(s) became indebted to Santander in accordance with the terms of same. Santander
      Consumer USA Inc. is designated as first lien holder on the title to the vehicle and holds a first
      purchase money security interest in the vehicle. A true copy of the contract and title inquiry to
      the vehicle are annexed hereto as Exhibits A and B.


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              4. As of January 18, 2018, the debtor’s account with Santander had a net loan balance of
      $8,533.56.
              5. According to the January 2018 NADA Official Used Car Guide, the vehicle has a
      current retail value of $6,950.00.
              6. The debtor’s account is past due from November 4, 2017 to February 4, 2018 with
      arrears in the amount of $1,068.68.
              7. Santander Consumer USA Inc. alleges that the automatic stay and co-debtor stay
      should be lifted for cause under 11 U.S.C. 362(d)(1) and 11 U.S.C. 1301 in that Santander lacks
      adequate protection of its interest in the vehicle as evidenced by the following:
                      (a) The debtor is failing to make payments to Santander and is failing to provide
              Santander with adequate protection.
                      (b) Santander has been unable to verify that the vehicle is insured; if the debtor
              contests this Motion, she must provide Santander with proof of valid, current insurance on
              the vehicle by the date of the hearing.


              WHEREFORE PREMISES CONSIDERED, Santander Consumer USA Inc. respectfully
      requests that upon final hearing of this Motion, (1) the automatic stay will be terminated as to
      Santander to permit Santander to seek its statutory and other available remedies; (2) that the       co-
      debtor stay will be terminated as to Santander to permit Santander to seek its statutory and other
      available remedies; (3) that the stay and co-debtor stay terminate upon entry of this Order
      pursuant to the authority granted by Fed.R.Bank.P., Rule 4001(a)(3) and (4) Santander be
      granted such other and further relief as is just.


      Respectfully submitted,

      /s/ William E. Craig
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